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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MICHAEL NIEVES,

                                 Plaintiff,
                                                                20-CV-2138 (LLS)
                     -against-
                                                                CIVIL JUDGMENT
THE CITY OF NEW YORK,

                                 Defendant.

         Pursuant to the order issued October 15, 2020, dismissing the complaint,

         IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed as

barred by the Colorado River doctrine.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     October 15, 2020
           New York, New York

                                                               Louis L. Stanton
                                                                  U.S.D.J.
